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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              :
DONALD MICHAEL OUTLAW,                        :
                  Plaintiff,                  :
                                              :             Civil Action
                     v.                       :             No. 21-1290
                                              :
CITY OF PHILADELPHIA, et al.,                 :      JURY TRIAL DEMANDED
                    Defendants.               :
                                              :

                                       ORDER

      AND NOW, this _________ day of __________, upon consideration of Defendants’

Motion to Preclude Duplicative Expert Testimony on Police Practices (“Motion”), and any

response thereto, it is HEREBY ORDERED that Defendants’ Motion is GRANTED. Plaintiff

is FURTHER ORDERED to designate a single police practices expert on or before

_________________.



                                        BY THE COURT:


                                        _______________________________
                                        CHAD F. KENNEY, J.
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                  Plaintiff,                      :
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CITY OF PHILADELPHIA, et al.,                     :      JURY TRIAL DEMANDED
                    Defendants.                   :
                                                  :

DEFENDANTS’ MOTION TO PRECLUDE DUPLICATIVE EXPERT TESTIMONY ON
                       POLICE PRACTICES

       Defendants, the City of Philadelphia, Howard Peterman, and Jeffrey Piree (collectively,

“Defendants”), by and through counsel, hereby file the instant Motion to Preclude Duplicative

Expert Testimony on Police Practices (“Motion). In support of this Motion, Defendants file the

accompanying Memorandum of Law and incorporate it as though fully set forth herein.

September 21, 2022                                Respectfully submitted,

                                                  /s/ Danielle B. Rosenthal
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                    Defendants.                      :
                                                     :

    DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO PRECLUDE
        DUPLICATIVE EXPERT TESTIMONY ON POLICE PRACTICES

       As discussed in other briefing (ECF No. 144), Plaintiff has named ten expert witnesses.

Among those experts, three consist of police-practices experts — Michael Mosiniak (Exhibit A),

Darrin Porcher (Exhibit B), and Christopher Chapman (Exhibit C) — who offer highly similar

(if not in some cases identical) opinions based on common facts and reasoning. Pursuant to Fed.

R. Civ. P. 403, the potential trial testimony offered by three redundant plaintiff experts would be

so repetitive as to be unfairly prejudicial, and would lead to “undue delay, waste of time, or

needless presentation of cumulative evidence.” This repetition of testimony at trial would not only

prejudice Defendants if admitted but would unnecessarily lengthen the trial. 1

       Although Defendants recognize that in some cases the Court would deem such motion

premature, in this case, at the pretrial stage — given the impermissible nature of much of the

reports and the highly short timeline — it would greatly prejudice Defendants to allow Plaintiff to

move forward with all three reports by forcing Defendants to conduct duplicative, excessive, and

unnecessary expert discovery and burden the Court with excess Daubert and motions in limine


       1
         In asking the Court to require Plaintiff to pare down the number of experts opining on the
same subject matter, Defendants in no way mean to concede the admissibility of any such opinions
and reserve all rights to file appropriate evidentiary motions seeking their exclusion.
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briefing. Defendants therefore ask the Court to limit Plaintiff to a single police-practices expert at

this stage in the proceeding.

                                           ARGUMENT

I.     Plaintiff has designated multiple police-practices experts who purport to offer
       duplicative opinions.

       In contravention of the typical practice that a party should be limited to one expert per

subject matter, Plaintiff has designated three police-practices experts with highly overlapping and

opinions and conclusions. The duplicative nature of their opinions and conclusions are striking.

To take just some examples, all three police-practices experts opine:

       •    Detective Peterman’s affidavit of probable cause 2 violated the Fourth Amendment to
            the U.S. Constitution. (Chapman Report at 8; Mosiniak Report at 21; Porcher Report
            at 48.)

       •    Detectives Peterman, Boyle, McNamee, Harkins, and Piree conspired with one another
            and failed to intervene in violation of the U.S. Constitution. (Chapman Report at 9-10;
            Mosiniak Report at 19, 21; Porcher Report at 46.)

       •    The Philadelphia Police Department and Lieutenant Deegan acted with deliberate
            indifference, leading to Plaintiff’s wrongful conviction. (Chapman Report at 8;
            Mosiniak Report at 19; Porcher Report at 46.)

       •    The Philadelphia Police Department maintained a custom or practice of coercing
            witnesses and fabricating evidence. (Chapman Report at 8; Mosiniak Report at 19-20;
            Porcher Report at 46.)

       •    The Philadelphia Police Department had inappropriate practices, training, and/or
            supervision regarding witnesses’ freedom to leave during questioning. (Chapman
            Report at 6; Mosiniak Report at 20; Porcher Report at 46-47.)

       •    Detective Peterman did not have probable cause to initiate the prosecution of Donald
            Outlaw. (Chapman Report at 8; Mosiniak Report at 21; Porcher Report at 46, 48.)




       2
         At times in the expert reports, the affidavit probable cause is incorrectly referred to as the
“arrest warrant,” though the terms appear to be used by certain experts interchangeably.


                                                  2
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Thus, not only are these experts in the same field of practice and specialty, but they also all reach

nearly identical conclusions and opinions in analyzing the case record.

II.     Courts have broad discretion to exclude disclosed experts whose testimony will be
        cumulative and limit a party to one expert per subject matter.

        The Court has wide discretion to require a party to designate a single expert per subject

matter that will testify at trial. See, e.g., Robert S. v. Stetson Sch., Inc., 256 F.3d 159, 170 (3d Cir.

2001) (holding that the district court acted within bounds of discretion in limiting expert’s

testimony as cumulative of other expert testimony in the case); Schell v. Univ. of Pittsburgh Med.

Ctr.-Horizon, No. 07-cv-1119, 2010 WL 11693695, at *2 (W.D. Pa. Sept. 9, 2010) (granting

“motions to preclude cumulative expert testimony” where multiple emergency medicine experts

were disclosed); Juarez v. Friess, No. CV 13-cv-145, 2016 WL 3551690, at *2 (W.D. Pa. June 30,

2016) (“Mr. Schorr’s report constitutes unnecessarily cumulative expert testimony, which is

neither highly probative nor helpful to the jury in the context of this case.”).

        Similarly, here there is no point here in permitting Plaintiff to “parad[e] additional experts

before the court in the hope that the added testimony will improve upon some element of the

testimony by the principal expert.” Leefe v. Air Logistics, Inc., 876 F.2d 409, 411 (5th Cir. 1989);

See, e.g., Riley v. Dow Chem. Co., 123 F.R.D. 639, 640 (N.D. Cal. 1989) (limiting the number of

experts at the discovery stage); Hill v. Porter Memorial Hosp., 90 F.3d 220, 224 (7th Cir. 1996)

(upholding exclusion of untimely disclosed experts in part because “it appears that the trial

testimony of Drs. Cranberg and Rothenberg would have been largely, if not totally, cumulative of

[plaintiff's] other experts”).

        The result of permitting three police practice experts to parrot the same opinions to the jury

is to prejudicially suggest that three former law enforcement officers, cloaked with expert

authority, are to be dispositive of the—at times ultimate—issues debated against Defendants’ mere



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one police-practices experts. But witness testimony should not be an arms race, and should not be

redundant—these are not, of course, three fact witnesses who independently corroborate a fact of

the underlying event. Further, as noted above, and briefed elsewhere, Defendants are operating

under a highly compressed time-period for expert reports and dispositive motions, and to allow

such redundant cumulative reports to proceed fully through discovery and motion practice

(particularly where filled with such improper and inadmissible proposed testimony) would

prejudice Defendants by forcing them to conduct duplicative, excessive, and unnecessary expert

discovery and burden the Court with excess expert related Daubert and motion in limine briefing.

                                         CONCLUSION

       Defendants respectfully request that this Court enter an Order compelling Plaintiff to pare

down his Rule 26 expert disclosures to designate a single expert on the topic of police practices.

September 21, 2022                                   Respectfully submitted,

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                                                     /s/ Katelyn Mays
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                    Defendants.                    :
                                                   :

                               CERTIFICATE OF SERVICE

       I hereby certify that on the date below Defendants’ Motion to Preclude Duplicative Expert

Testimony on Police Practices was via the Court’s electronic filing system and is available for

downloading by all counsel of record


Date: September 21, 2022                           Respectfully submitted,

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